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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

                         Plaintiff,                NO. 3:21-CV-2983

v.

39.89138522 BITCOIN SEIZED FROM
EXODUS WALLET

                          Defendant in rem.


                  UNITED STATES’ COMPLAINT FOR FORFEITURE

        The United States of America files this verified complaint in rem against

39.89138522 Bitcoin Seized From Exodus Wallet (“the Defendant Property”) that is now

located and in the custody and management of the Federal Bureau of Investigation

(“FBI”) Dallas Division, One Justice Way, Dallas Texas.

                             I.       JURISDICTION AND VENUE

        1.      This Court has subject matter jurisdiction of this case of action in rem by

virtue of the provisions of 28 U.S.C. §§ 1345 and 1355(a). Venue is proper under 28

U.S.C. § 1355(b)(1) and 28 U.S.C. § 1395(b) because the acts giving rise to the forfeiture

occurred in this district.

        2.      The statutory basis for this suit is 18 U.S.C. §§ 981(a)(1)(A) and

981(a)(1)(C) & (G). Also applicable are 28 U.S.C. §§ 2461 and 2465, 18 U.S.C. § 983,

and Rule G, Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions (Supplemental Rules).

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                     II.     NOTICE AND POTENTIAL CLAIMANTS

          3.    The Defendant Property listed above is located in Dallas County within the

Northern District of Texas. The Defendant Property was seized on August 3, 2021.

          4.    The name and last known address of the individual reasonably appearing to

the government, at this time, to be potential claimant to the Defendant Property is:

          Aleksandr Sikerin, a/k/a Alexander Sikerin, a/k/a Oleksandr Sikerin
          Last known address - Malaya Bukharestskaya Ulitsa, 10к1, St Peterburg, Russia,
          192288
          Email address - engfog1337@gmail.com

Notice of this Complaint will be provided to the above-listed individual.

                      III.     FACTS AND BASIS FOR FORFEITURE

          5.    The Defendant Property is subject to civil forfeiture pursuant to the

following:

          A.    18 U.S.C. § 981(a)(1)(C) & (G) because it constitutes or was derived from

proceeds traceable to a violation, or conspiracy to violate 18 U.S.C. § 1030 (computer

fraud);

          B.    18 U.S.C. § 981(a)(1)(C) because it constitutes or was derived from

proceeds traceable to a violation, or conspiracy to violate 18 U.S.C. § 1343 (wire fraud);

          C.    18 U.S.C. § 981(a)(1)(A) because it was property involved in a violation of

18 U.S.C. §§ 1956 and 1957 (money laundering), and any property traceable to that

property, or conspiracy to violate §§ 1956 and 1957.

          The offenses involved concern the ransomware variant known as

Sodinokibi/REvil. Between on or about April 2019, and July 2021, ransomware attacks

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across the United States, and elsewhere, were committed resulting in the receipt of over

$200 million dollars in ransom payments by Sodinokibi actors. The Defendant Property

constitutes, was derived from, and is traceable to ransomware attacks committed by

Sikerin. The Defendant Property is also involved in and traceable to the money

laundering conspiracy involving Sodinokibi ransom payments. This is shown by the

Verification Affidavit in Support of the United States’ Complaint for Forfeiture of

Special Agent Joshua Jacobs, filed under seal, and incorporated as Plaintiff’s Appendix

Exhibit 1. See United States v. 2121 Kirby Drive, No. H-06-CV-3335, 2007 WL

3378353, at *3 n.1 (S.D. Tex. Nov. 13, 2007) (the Court may consider the affidavit

together with the complaint).

                                     IV.     RELIEF SOUGHT

        THEREFORE, the United States requests the following:

        A.      That the Clerk issue a warrant for the arrest of the Defendant Property,

pursuant to Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions;

        B.      That the United States Marshals Service (or designee) arrest the Defendant

Property, pursuant to the warrant, as provided by Rule G(3)(c) of the Supplemental Rules

for Admiralty or Maritime Claims and Asset Forfeiture Actions;

        C.      That the United States publish notice of the complaint for forfeiture on the

website www.forfeiture.gov for at least 30 consecutive days, in accordance with Rule

G(4)(a)(iv)(c) of the Supplemental Rules for Admiralty or Maritime Claims and Asset

Forfeiture Actions;
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        D.      That the United States serve notice, pursuant to Rule G(4)(b) of the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, on

any person reasonably appearing to be a known potential claimant, advising the person of

the date of notice; of the deadline for filing a claim; that an answer or motion under Rule

12(b) must be filed no later than 21 days after the filing of the claim; and of the name of

the Assistant United States Attorney to be served with the claim and answer;

        E.      That the Court, after all proceedings are had on this complaint for

forfeiture, declare the Defendant Property forfeited to the United States according to law;

        F.      That the Court appropriately tax all costs and expenses incurred by the

United States in obtaining the forfeiture of the Defendant Property against any persons or

entities who filed a verified claim and answer in this case;

        G.      That the Court grant the United States any further relief, at law or in equity,

to which it may show itself justly entitled.

Dated this 30th day of November 2021.

                                                   Respectfully submitted,

                                                   CHAD E. MEACHAM
                                                   UNITED STATES ATTORNEY

                                                   /s/ Tiffany H. Eggers
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